Case 3:17-cv-00072-NKM-JCH Document 261-1 Filed 03/12/18 Page 1 of 30 Pageid#:
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                       Exhibit A
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Case 3:17-cv-00072-NKM-JCH Document 261-1 Filed 03/12/18 Page 5 of 30 Pageid#:
                                   1716




                ATTACHMENT A
Case 3:17-cv-00072-NKM-JCH Document 261-1 Filed 03/12/18 Page 6 of 30 Pageid#:
                                   1717



                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           Charlottesville Division


  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, TYLER MAGILL, APRIL
  MUNIZ, HANNAH PEARCE, MARCUS
  MARTIN, NATALIE ROMERO, CHELSEA
  ALVARADO, and JOHN DOE,

                            Plaintiffs,

  – v–

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
  ALEX FIELDS, JR., VANGUARD
  AMERICA, ANDREW ANGLIN,                  Civil Action No. 3:17-cv-00072-NKM
  MOONBASE HOLDINGS, LLC, ROBERT
  “AZZMADOR” RAY, NATHAN DAMIGO,
  ELLIOT KLINE a/k/a/ ELI MOSELY,
  IDENTITY EVROPA, MATTHEW                    JURY TRIAL DEMANDED
  HEIMBACH, MATTHEW PARROTT a/k/a
  DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS,
  LEAGUE OF THE SOUTH, JEFF SCHOEP,
  NATIONAL SOCIALIST MOVEMENT,
  NATIONALIST FRONT, AUGUSTUS SOL
  INVICTUS, FRATERNAL ORDER OF THE
  ALT-KNIGHTS, MICHAEL “ENOCH”
  PEINOVICH, LOYAL WHITE KNIGHTS OF
  THE KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,

                            Defendants.

                  PLAINTIFFS’ SUBPOENA FOR DOCUMENTS
                              TO DAVID DUKE
Case 3:17-cv-00072-NKM-JCH Document 261-1 Filed 03/12/18 Page 7 of 30 Pageid#:
                                   1718



        YOU ARE HEREBY COMMANDED, pursuant to Fed. R. Civ. P. 45, to produce the

 documents and things designated herein for inspection at the office of Go Depo-New Orleans,

 201 St. Charles Avenue, Suite 2500, New Orleans, LA 70170 within 30 days of service, as

 provided under the Federal Rules of Civil Procedure. There is a Protective Order in this action

 (see Attachment B). Documents produced may be designated as “confidential” or “highly

 confidential” and will be treated as such. This subpoena for documents, including each

 individual Request for Documents (collectively, the “Requests”), shall be read and interpreted in

 accordance with the definitions and instructions identified below.

                              DEFINITIONS AND INSTRUCTIONS

        Plaintiffs incorporate by reference all the instructions, definitions and rules contained in

 the Federal Rules of Civil Procedure, and for purposes of this Subpoena, the following

 instructions and definitions shall apply:

        1.      The singular of each word shall be construed to include its plural and vice-versa,

 and the root word and all derivations (e.g., “ing,” “ed”) shall be construed to include each other.

 The words “and” as well as “or” shall be construed both conjunctively and disjunctively.

        2.      The present tense shall be construed to include the past tense and vice-versa.

 Where it is necessary to bring within the scope of these Requests information that might

 otherwise be construed to be outside their scope, the use of a verb in any tense shall be

 recognized as the use of that verb in all other tenses.

        3.       If the requested documents are maintained in a file, the file folder is included in

 the request for production of those documents.

        4.      The word “any” shall be construed to include “all” and vice-versa.




                                                   2
Case 3:17-cv-00072-NKM-JCH Document 261-1 Filed 03/12/18 Page 8 of 30 Pageid#:
                                   1719



         5.     The term “concerning” means “relating to,” “referring to,” “describing,”

 “evidencing” or “constituting.”

         6.     The terms “document” and “documents” are defined to be synonymous in

 meaning and equal in scope to the usage of the term “documents” in Fed. R. Civ. P. 34(a)(1)(A).

 The terms “document” and “documents” are defined to include all writings of every kind and all

 electronically stored information (“ESI”), including but not limited to videos, photographs,

 sound recordings, images, charts, maps, records, memoranda, correspondence, handwritten or

 typewritten notes, calendars, diaries, telephone messages, data or data compilations, emails,

 attachments to emails, instant messages, PowerPoint presentations, spreadsheets, all other

 writings in hard copy or in electronic form, and all other material stored on computers, computer

 discs, CDs, DVDs, Blackberry or smartphone devices, tablets, personal digital assistants, USB

 “thumb” drives, electronic calendars, and telephone systems.

         7.     A draft of a non-identical copy is considered a separate document.

         8.     The terms “electronically stored information” and “ESI” are defined to be

 synonymous in meaning and equal in scope to the usage of “electronically stored information” in

 Fed. R. Civ. P. 34(a)(1)(A).

         9.     The terms “communication” and “communications” are defined to include any

 document, snail mail, email, phone call, text message, Facebook message, Facebook post, tweet

 on Twitter, direct message on Twitter, chat or message on any social media platform, and any

 other means used to convey information from one person to any other person or persons in any

 form.

         10.    The term “snail mail” is defined as written communication delivered by the

 United States Postal Service, Federal Express, or United Parcel Service.




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Case 3:17-cv-00072-NKM-JCH Document 261-1 Filed 03/12/18 Page 9 of 30 Pageid#:
                                   1720



          11.   The term “social media” means any forum, website, application, or other network

 on which persons can create, share, communicate concerning, or comment upon any information,

 or otherwise engage in social networking. Without limiting the foregoing in any manner, and by

 way of example only, the following are social media platforms: comment sections of websites,

 Facebook, Discord, Reddit, Imgur, Snapchat, Instagram, Google+, 4chan, 8chan, Twitter,

 Tumblr, and instant messaging programs such as Signal, WhatsApp, Messenger, Hangouts, or

 Skype.

          12.   The term “event” is defined as a planned or organized public occasion.

          13.   The term “rally” is defined to mean the gathering or meeting together by a group

 of four or more people in one geographical location to show support for a common cause.

          14.   The terms “you” and “your” include the person(s) to whom these Requests are

 addressed, and all of that person’s agents, representatives, and attorneys.

          15.   The term “including” shall be construed as “including, but not limited to.”

          16.   You should construe negative terms to include the positive, and vice-versa. For

 example, you should construe the word “preference” to mean “preference or lack of preference.”

          17.   In producing documents, you are requested to produce the original of each

 document requested together with all non-identical copies and drafts of that document. If the

 original of any document cannot be located, a copy shall be provided in lieu thereof, and shall be

 legible and bound or stapled in the same manner as the original. In any circumstance in which

 an agreement is reached to allow the production of copies of documents rather than originals,

 you shall retain all of the original documents for inspection or copying throughout the pendency

 of this case, any appeal(s), and any related proceedings.




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Case 3:17-cv-00072-NKM-JCH Document 261-1 Filed 03/12/18 Page 10 of 30 Pageid#:
                                    1721



          18.   Any alteration of a responsive document, including any marginal notes,

 handwritten notes, underlining, date stamps, received stamps, endorsed or filed stamps, drafts,

 revisions, modifications, and other versions of a document, is a responsive document in its own

 right and must be produced.

          19.   Any reference to a person that is a business entity and is not otherwise defined

 includes that person’s predecessors (including any pre-existing person that at any time became

 part of that entity after merger or acquisition), successors, parents, divisions, subsidiaries,

 affiliates, franchisors and franchisees; each other person, directly or indirectly owned or

 controlled by any of them; and each partnership or joint venture to which any of them is a party;

 and all present and former directors, officers, employees, agents, consultants, controlling

 shareholders (and any entity owned by any such controlling shareholder) and attorneys of any of

 them; and any other person acting for or on behalf of any of them.

          20.   Unless words or terms have been given a specific definition herein, each word or

 term used herein shall be given its usual and customary dictionary definition, except where such

 words have a usual custom and usage definition in your trade or industry, in which case they

 shall be interpreted in accordance with such usual custom and usage definition of which you are

 aware.

          21.   Pursuant to Rule 34(b) of the Federal Rules of Civil Procedure, documents shall

 be produced either (a) as they are kept in the usual course of business (in which case they shall

 be produced in such fashion as to identify the department, branch or office in whose possession it

 was located and, where applicable, the natural person in whose possession it was found or the

 server or central file in which it was found, and the address of each document’s custodian(s)), or




                                                    5
Case 3:17-cv-00072-NKM-JCH Document 261-1 Filed 03/12/18 Page 11 of 30 Pageid#:
                                    1722



 (b) segregated as responsive to a specific Request enumerated in these Requests, with such

 specific Request identified.

        22.     All documents shall be produced in the file folder, envelope or other container in

 which the documents are kept or maintained. If, for any reason, the container cannot be

 produced, produce copies of all labels or other identifying marks.

        23.     Documents attached to each other should not be separated.

        24.     If identical copies of a document are in the possession, custody or control of more

 than one natural person or other document custodian, a copy of that document shall be produced

 from each such natural person or other document custodian.

        25.     In instances where two or more exact duplicates of any document exist, the most

 legible copy shall be produced.

        26.     All communications, including but not limited to text messages, Facebook

 messages, tweets, and direct messages on Twitter, should be produced in a form that identifies

 the message, the sender, the recipient, and the date on which the message was sent.

        27.     If you file a timely objection to any portion of a Request, definition or instruction,

 provide a response to the remaining portion.

        28.     If you are unable to produce a document that is responsive to a Request, so state

 and indicate whether the document ever existed or whether the document once existed but cannot

 be located. If any responsive document once was, but is no longer, in your possession, custody

 or control, state the whereabouts of such document when last in your possession, custody or

 control, state the date and manner of its disposition and identify its last known custodian. To the

 extent that any responsive document was lost or destroyed, produce any document that supports




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Case 3:17-cv-00072-NKM-JCH Document 261-1 Filed 03/12/18 Page 12 of 30 Pageid#:
                                    1723



 your assertion that the document was lost or destroyed, and provide the date when each such

 document was lost or destroyed.

        29.     The time period to which these Requests refer is from January 1, 2015 to the

 present. If any document is undated and the date of its preparation cannot be determined, the

 document shall be produced if otherwise responsive to any of the Requests.

        30.     These Requests are continuing and require supplemental responses in accordance

 with the requirements of Federal Rule of Civil Procedure 26(e).

        31.     The terms defined above and used in each of the Requests should be construed

 broadly to the fullest extent of their meaning in a good faith effort to comply with the Federal

 Rules of Civil Procedure.

                              DOCUMENTS TO BE PRODUCED

 Document Request No. 1

        All documents concerning the above-captioned litigation.

 Document Request No. 2

        All documents and communications concerning the removal of the Robert E. Lee statute

 from Charlottesville, Virginia, including but not limited to all communications via text messages,

 email, Facebook messages, tweets, direct messages on Twitter, and messages on Discord.

 Document Request No. 3

        All documents and communications concerning any rally or event on August 12, 2017 in

 Charlottesville, Virginia, including but not limited to all communications via text messages,

 email, Facebook messages, tweets, direct messages on Twitter, and messages on Discord, that

 anticipated, planned, publicized, reported on, or otherwise concern such rally or event.




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Case 3:17-cv-00072-NKM-JCH Document 261-1 Filed 03/12/18 Page 13 of 30 Pageid#:
                                    1724



 Document Request No. 4

        All documents and communications sufficient to identify your accommodations on the

 night of August 12, 2017, as well as your transportation to and from any rally or event on August

 12, 2017, in Charlottesville, Virginia, including but not limited to all communications via text

 messages, email, Facebook messages, tweets, direct messages on Twitter, and messages on

 Discord.

 Document Request No. 5

        All documents and communications sufficient to identify any entity with which you are

 affiliated that provided financial support or assisted in organizing any rally or event on August

 12, 2017 in Charlottesville, Virginia, including but not limited to all communications via text

 messages, email, Facebook messages, tweets, direct messages on Twitter, and messages on

 Discord.

 Document Request No. 6

        All documents and communications concerning any rally or event on August 11, 2017 in

 Charlottesville, Virginia, including but not limited to all communications via text messages,

 email, Facebook messages, tweets, direct messages on Twitter, and messages on Discord, that

 anticipated, planned, publicized, reported on, or otherwise concern such rally or event.

 Document Request No. 7

        All documents and communications sufficient to identify your accommodations on the

 night of August 11, 2017, as well as your transportation to and from any rally or event on August

 11, 2017, in Charlottesville, Virginia, including but not limited to all communications via text

 messages, email, Facebook messages, tweets, direct messages on Twitter, and messages on

 Discord.




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Case 3:17-cv-00072-NKM-JCH Document 261-1 Filed 03/12/18 Page 14 of 30 Pageid#:
                                    1725



 Document Request No. 8

        All documents and communications concerning any meeting on August 11, 2017, related

 to Charlottesville, Virginia, including but not limited to the meeting attended by Christopher

 Cantwell, Robert “Azzmador” Ray, and Elliot Kline, also known as Eli Mosley, including all

 communications via text messages, email, Facebook messages, tweets, direct messages on

 Twitter, and messages on Discord.

 Document Request No. 9

        All documents and communications concerning any rally or event on July 8, 2017 in

 Charlottesville, Virginia, including but not limited to all communications via text messages,

 email, Facebook messages, tweets, direct messages on Twitter, and messages on Discord, that

 anticipated, planned, publicized, reported on, or otherwise concern such rally or event.

 Document Request No. 10

        All documents and communications concerning any rally or event on May 13, 2017 in

 Charlottesville, Virginia, including but not limited to all communications via text messages,

 email, Facebook messages, direct messages on Twitter, and messages on Discord, that

 anticipated, planned, publicized, reported on, or otherwise concern such rally or event.

 Document Request No. 11

        All documents and communications concerning any efforts to solicit donations for

 yourself or on behalf or any other person, related to any rally or event in May, July, or August, of

 2017 in Charlottesville, Virginia, including but not limited to all communications via text

 messages, email, Facebook messages, tweets, direct messages on Twitter, and messages on

 Discord.




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Case 3:17-cv-00072-NKM-JCH Document 261-1 Filed 03/12/18 Page 15 of 30 Pageid#:
                                    1726



 Document Request No. 12

        All documents and communications concerning any donations received by you or any

 entity with which you are affiliated that participated in or supported the rally or event in August

 11, 2017, in Charlottesville, Virginia, including but not limited to all communications via text

 messages, email, Facebook messages, tweets, direct messages on Twitter, and messages on

 Discord.

 Document Request No. 13

        All documents and communications between you and any of the following individuals:

        a.      Christopher Cantwell;

        b.      Robert “Azzmador” Ray;

        c.      Elliot Kline a/k/a Eli Mosley;

        d.      Jason Kessler;

        e.      Richard Spencer;

        f.      James Alex Fields, Jr.;

        g.      Andrew Anglin;

        h.      Nathan Damigo;

        i.      Matthew Heimbach;

        j.      Matthew Parrott a/k/a David Matthew Parrott;

        k.      Michael Hill;

        l.      Michael Tubbs;

        m.      Jeff Schoep;

        n.      Augustus Sol Invictus;

        o.      Michael “Enoch” Peinovich;




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Case 3:17-cv-00072-NKM-JCH Document 261-1 Filed 03/12/18 Page 16 of 30 Pageid#:
                                    1727



 Document Request No. 14

       All documents and communications to, from, or concerning the following entities:

       a.     The Daily Stormer (including the Daily Stormer’s “book clubs”);

       b.     Vanguard America;

       c.     Moonbase Holdings, LLC;

       d.     Identity Evropa;

       e.     Traditionalist Worker Party;

       f.     League of the South;

       g.     National Socialist Movement;

       h.     Nationalist Front;

       i.     Fraternal Order of the Alt-Knights;

       j.     Loyal White Knights of the Ku Klux Klan;

       k.     East Coast Knights of the Ku Klux Klan a/k/a East Coast Knights of the True

              Invisible Empire;

       l.     Any other organization with “Knights” in its name; and

       m.     Any other organization with “Ku Klux Klan” in its name.



 Dated: January 24, 2018
                                                    s/ Robert T. Cahill
                                                    Robert T. Cahill (VSB 38562)
                                                    COOLEY LLP
                                                    11951 Freedom Drive, 14th Floor
                                                    Reston, VA 20190-5656
                                                    Telephone: (703) 456-8000
                                                    Fax: (703) 456-8100
                                                    rcahill@cooley.com




                                              11
Case 3:17-cv-00072-NKM-JCH Document 261-1 Filed 03/12/18 Page 17 of 30 Pageid#:
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                                      12
Case 3:17-cv-00072-NKM-JCH Document 261-1 Filed 03/12/18 Page 18 of 30 Pageid#:
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                                           Counsel for Plaintiffs




                                      13
Case 3:17-cv-00072-NKM-JCH Document 261-1 Filed 03/12/18 Page 19 of 30 Pageid#:
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                ATTACHMENT B
Case 3:17-cv-00072-NKM-JCH Document 261-1 Filed 03/12/18 Page 20 of 30 Pageid#:
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                                                                     01/03/2018
                     UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                          Charlottesville Division

 ELIZABETH SINES, SETH WISPELWEY,
 MARISSA BLAIR, TYLER MAGILL, APRIL
 MUNIZ, HANNAH PEARCE, MARCUS
 MARTIN, JOHN DOE, JANE DOE 1, JANE
 DOE 2, and JANE DOE 3,


                        Plaintiffs,
 v.


 JASON KESSLER, RICHARD SPENCER,
 CHRISTOPHER CANTWELL, JAMES
 ALEX FIELDS, JR., VANGUARD               Civil Action No. 3:17-cv-00072-NKM
 AMERICA, ANDREW ANGLIN,
 MOONBASE HOLDINGS, LLC, ROBERT
 “AZZMADOR” RAY, NATHAN DAMIGO,
 ELLIOT KLINE a/k/a/ ELI MOSELY,
 IDENTITY EVROPA, MATTHEW
 HEIMBACH, MATTHEW PARROTT a/k/a
 DAVID MATTHEW PARROTT,
 TRADITIONALIST WORKER PARTY,
 MICHAEL HILL, MICHAEL TUBBS,
 LEAGUE OF THE SOUTH, JEFF SCHOEP,
 NATIONAL SOCIALIST MOVEMENT,
 NATIONALIST FRONT, AUGUSTUS SOL
 INVICTUS, FRATERNAL ORDER OF THE
 ALT-KNIGHTS, MICHAEL “ENOCH”
 PEINOVICH, LOYAL WHITE KNIGHTS OF
 THE KU KLUX KLAN, and EAST COAST
 KNIGHTS OF THE KU KLUX KLAN a/k/a
 EAST COAST KNIGHTS OF THE TRUE
 INVISIBLE EMPIRE,


                        Defendants.

              XXXXXXXXXX ORDER FOR THE PRODUCTION OF DOCUMENTS
              [PROPOSED]
                  AND EXCHANGE OF CONFIDENTIAL INFORMATION




Case 3:17-cv-00072-NKM-JCH Document 167 Filed 01/03/18 Page 1 of 11 Pageid#: 762
Case 3:17-cv-00072-NKM-JCH Document 261-1 Filed 03/12/18 Page 21 of 30 Pageid#:
                                    1732



         With the Parties, by and among their respective counsel, having stipulated and agreed to

  the terms set forth herein, and good cause having been shown,

         IT IS hereby ORDERED as follows:

  1)     Scope of Order – This Stipulation is being entered into to facilitate the production,

  exchange and discovery of documents and information that the parties agree merit confidential

  treatment (hereinafter the “Discovery”).

  2)     Designation of Discovery – Either party may designate Discovery, whether written,

  documentary, or testamentary, in connection with this action as “confidential” or “highly

  confidential” either by notation on the document, statement on the record of the deposition,

  written advice to the respective undersigned counsel for the parties hereto, or by other

  appropriate means.

  3)     Definitions – As used herein:

         a)      “Confidential Information” shall mean all Discovery, and all information

                 contained therein, designated as confidential. A Producing Party may designate as

                 Confidential any information that the Producing Party, in good faith, believes

                 should be protected from public disclosure.

         b)      “Highly Confidential Information” shall mean all Discovery, and all information

                 contained therein, designated as highly confidential. A Producing Party may

                 designate as Highly Confidential any information including, but not limited to,

                 personal information such as Social Security numbers, home addresses, telephone

                 numbers, tax returns, non-party surnames and medical, investment, credit and

                 banking information of any person, that the Producing Party, in good faith,




                                                 2
Case 3:17-cv-00072-NKM-JCH Document 167 Filed 01/03/18 Page 2 of 11 Pageid#: 763
Case 3:17-cv-00072-NKM-JCH Document 261-1 Filed 03/12/18 Page 22 of 30 Pageid#:
                                    1733



                 believes should be protected from disclosure to those not permitted to receive

                 Highly Confidential Information.

         c)      “Producing Party” shall mean the parties to this action and any third parties

                 producing Confidential or Highly Confidential Information, or the party asserting

                 the confidentiality privilege, as the case may be.

         d)      “Receiving Party” shall mean the party to this action and/or any non-party

                 receiving Confidential or Highly Confidential Information.

  4)     Disclosure Prohibited – Except with the prior written consent of the Producing Party or

  by Order of the Court, Confidential Information shall not be furnished, shown or disclosed to any

  person or entity except to:

         a)      Parties and personnel of the Parties actually engaged in assisting in the

                 preparation of this action for trial or other proceeding herein who have been

                 advised of their obligations hereunder and have first executed the undertaking

                 contained in Exhibit A to this Stipulation;

         b)      counsel for the Parties to this action and their associated attorneys, paralegals and

                 other professional personnel (including support staff) who are directly assisting

                 such counsel in the preparation of this action for trial or other proceeding herein,

                 are under the supervision or control of such counsel, and who have been advised

                 by such counsel of their obligations hereunder;

         c)      expert witnesses or consultants retained by the parties or their counsel to furnish

                 technical or expert services in connection with this action or to give testimony

                 with respect to the subject matter of this action at the trial of this action or other

                 proceeding herein, and who have been advised by counsel of their obligations




                                                   3
Case 3:17-cv-00072-NKM-JCH Document 167 Filed 01/03/18 Page 3 of 11 Pageid#: 764
Case 3:17-cv-00072-NKM-JCH Document 261-1 Filed 03/12/18 Page 23 of 30 Pageid#:
                                    1734



                  hereunder and have first executed the undertaking contained in Exhibit A to this

                  Stipulation;

          d)      trial or deposition witnesses;

          e)      stenographers and videographers used at a deposition and who have been advised

                  by counsel of their obligations hereunder;

          f)      the Court and Court personnel; and

          g)      any other person agreed to in writing by the Parties.

  5)      Treatment of Highly Confidential Information – Except with the prior written consent of

  the Producing Party or by Order of the Court, Highly Confidential Information shall not be

  furnished, shown or disclosed to any person or entity except to those identified in sub-paragraphs

  4(b), (c), (e), (f), and (g), as well as to trial or deposition witnesses if that witness sent, received,

  authored, or viewed the document or information outside the context of this litigation. For the

  avoidance of doubt, any person or entity identified in sub-paragraphs 4(c), 4(e), and 4(g)

  receiving Highly Confidential Information shall first execute the undertaking contained in

  Exhibit A to this Stipulation.

  6)      Retention of Confidentiality Agreements – Outside counsel for the Party that obtains the

  signed undertaking contained in Exhibit A shall retain them for six (6) months following the final

  termination of this litigation, including any appeals, and shall make them available to other

  Parties upon good cause shown.

  7)      Storage of Confidential Information – Each Receiving Party shall use due care with

  respect to the storage, custody, use, and/or dissemination of Confidential or Highly Confidential

  Information. A person with custody of documents designed Confidential or Highly Confidential




                                                     4
Case 3:17-cv-00072-NKM-JCH Document 167 Filed 01/03/18 Page 4 of 11 Pageid#: 765
Case 3:17-cv-00072-NKM-JCH Document 261-1 Filed 03/12/18 Page 24 of 30 Pageid#:
                                    1735



  shall maintain them in a manner that limits access to those persons entitled under this Stipulation

  to examine the documents so designated.

  8)     Filing Under Seal – Any Party wishing to file Confidential or Highly Confidential

  Information with the Court shall, wherever possible, alert the Producing Party to the specific

  documents or information they wish to file sufficiently in advance of the filing to permit the

  Producing Party to file a motion to seal in accordance with the Court’s Local Rules, Title I, Rule

  9 (“Local Rule 9”). Upon being informed that the Producing Party will file such a motion, the

  filing party shall file the relevant documents and information under seal. Where such advance

  notice is not possible, the filing party will file any Confidential or Highly Confidential

  Information under seal and will also file a motion to seal in accordance with Local Rule 9

  requesting that the document be held under seal until such time as the Producing Party can file a

  motion to seal, which the Producing Party shall do within seven days.

  9)     Limitations on Use – Confidential and Highly Confidential Information shall be utilized

  by the Receiving Party and its counsel only for purposes of this action, including any appeals,

  and for no other purposes.

  10)    Presumption of Confidentiality – All testimony shall presumptively be treated as

  Confidential Information and subject to this Stipulation during the testimony and for a period of

  thirty (30) days after a transcript of said testimony is received by counsel for each of the parties.

  At or before the end of such thirty day period, the testimony shall be classified appropriately.

  11)    Restrictions of Use of Confidential Information – Any person receiving Confidential or

  Highly Confidential Information shall not reveal or discuss such information to or with any

  person not entitled to receive such information under the terms hereof.




                                                   5
Case 3:17-cv-00072-NKM-JCH Document 167 Filed 01/03/18 Page 5 of 11 Pageid#: 766
Case 3:17-cv-00072-NKM-JCH Document 261-1 Filed 03/12/18 Page 25 of 30 Pageid#:
                                    1736



  12)     Inadvertent Misdesignation – Any document or information that may contain

  Confidential or Highly Confidential Information that has been inadvertently produced without

  identification as to its confidential nature may be so designated by the party asserting the

  confidentiality privilege by written notice to the undersigned counsel for the Receiving Party

  identifying the document or information as confidential or highly confidential within a

  reasonable time following the discovery that the document or information has been produced

  without such designation.

  13)    Extracts and Summaries – Extracts and summaries of Confidential or Highly Confidential

  Information shall also be treated as confidential or highly confidential in accordance with the

  provisions of this Stipulation.

  14)    No Waiver of Confidentiality – The production or disclosure of Confidential or Highly

  Confidential Information shall in no way constitute a waiver of each party’s right to object to the

  production or disclosure of other information in this action or in any other action.

  15)    Duration – The provisions of this Stipulation shall, absent prior written consent of both

  parties, continue to be binding after the conclusion of this action.

  16)    No Waiver of Privilege – Nothing herein shall be deemed to waive any privilege

  recognized by law, or shall be deemed an admission as to the admissibility in evidence of any

  facts or documents revealed in the course of disclosure. In the event of an inadvertent disclosure

  of allegedly privileged information, the Producing Party may provide notice in writing to the

  Receiving Party or Parties advising of the inadvertent disclosure, requesting return of the

  allegedly privileged information, and asserting the basis of the clawback request. Upon such

  notice, the Receiving Party or Parties shall make no further use of the allegedly privileged

  information, shall immediately segregate the information in a manner that will prevent any




                                                    6
Case 3:17-cv-00072-NKM-JCH Document 167 Filed 01/03/18 Page 6 of 11 Pageid#: 767
Case 3:17-cv-00072-NKM-JCH Document 261-1 Filed 03/12/18 Page 26 of 30 Pageid#:
                                    1737



  further disclosure or dissemination, and shall take reasonable steps to retrieve the information to

  the extent it was disclosed or disseminated prior to receipt of the notice. Within ten (10) calendar

  days of receiving the notice of inadvertent disclosure, the Receiving Party shall return all

  allegedly privileged information in its possession, custody, or control, or shall provide written

  confirmation that such information has been deleted. Within twenty (20) days of providing the

  notice of inadvertent disclosure, or as otherwise agreed, the Producing Party shall provide the

  Receiving Party or parties with a privilege log identifying the allegedly privileged information

  that was inadvertently disclosed and the asserted grounds for privilege, as required by the Federal

  Rules of Civil Procedure and applicable court rules.

  17)    Subpoenas in Other Actions – In the event a Receiving Party having possession, custody,

  or control of any Confidential or Highly Confidential Information produced in this action

  received a subpoena or other process or order to produce such information, such subpoenaed

  person or entity shall promptly notify by e-mail the attorneys of record of the Producing Party

  and shall furnish those attorneys with a copy of said subpoena or other process or order. The

  Receiving Party shall not produce the requested Confidential or Highly Confidential Information

  unless and until a court of competent jurisdiction so directs, except if the Producing Party (a)

  consents, or (b) fails to file a motion to quash or fails to notify the Receiving Party in writing of

  its intention to contest the production of the Confidential or Highly Confidential Information

  prior to the date designated for production of the subpoenaed information, in which event the

  Receiving Party may produce on the designated production date, but no earlier. The purpose of

  requiring the Receiving Party to wait until the designated production date for producing the

  Confidential or Highly Confidential Information is to afford the Producing Party an opportunity

  to protect its confidentiality interest in the matter or proceeding in connection with which the




                                                   7
Case 3:17-cv-00072-NKM-JCH Document 167 Filed 01/03/18 Page 7 of 11 Pageid#: 768
Case 3:17-cv-00072-NKM-JCH Document 261-1 Filed 03/12/18 Page 27 of 30 Pageid#:
                                    1738



  discovery request, subpoena, or order is issued. The Producing Party asserting the confidential

  treatment shall have the burden of defending against such subpoena, process, or order. The

  person or Party receiving the subpoena or other process or order shall be entitled to comply with

  it except to the extent the Producing Party asserting the confidential treatment is successful in

  obtaining an order modifying or quashing it.

  18)    Return or Destruction of Confidential Information – Within sixty (60) days after the final

  termination of this action by settlement or exhaustion of all motions or appeals, all Confidential

  or Highly Confidential Information produced or designated and all reproductions thereof, shall be

  returned to the Producing Party or shall be destroyed, at the option of the Producing Party. In the

  event that any party chooses to destroy physical objects and documents, such party shall certify

  in writing within sixty (60) days of the final termination of this litigation that it has undertaken its

  best efforts to destroy such physical objects and documents, and that such physical objects and

  documents have been destroyed to the best of its knowledge. Notwithstanding anything to the

  contrary, counsel of record for the parties may retain one copy of documents constituting work

  product, a copy of pleadings, motion papers, discovery responses, deposition transcripts and

  deposition and trial exhibits, except that internal counsel and internal staff shall not retain any

  copies or summaries of Highly Confidential Information. This stipulation shall not be interpreted

  in a manner that would violate any applicable canons of ethics or codes of professional

  responsibility. Nothing in this stipulation shall prohibit or interfere with the ability of counsel for

  any party, or of experts specially retained for this case, to represent any individual, corporation,

  or other entity adverse to any party or its affiliate(s) in connection with any other matters.

  19)    Modification – This Stipulation may be changed by further order of the Court, and is

  without prejudice to the rights of a party to move for relief from, or modification of, any of its




                                                     8
Case 3:17-cv-00072-NKM-JCH Document 167 Filed 01/03/18 Page 8 of 11 Pageid#: 769
Case 3:17-cv-00072-NKM-JCH Document 261-1 Filed 03/12/18 Page 28 of 30 Pageid#:
                                    1739
 Case 3:17-cv-00072-NKM-JCH Document 261-1 Filed 03/12/18 Page 29 of 30 Pageid#:
                                     1740



                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                               Charlottesville Division

  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, TYLER MAGILL, APRIL
  MUNIZ, HANNAH PEARCE, MARCUS
  MARTIN, JOHN DOE, JANE DOE 1, JANE
  DOE 2, and JANE DOE 3,

                               Plaintiffs,
  v.

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
  ALEX FIELDS, JR., VANGUARD
  AMERICA, ANDREW ANGLIN,                         Civil Action No. 3:17-cv-00072-NKM
  MOONBASE HOLDINGS, LLC, ROBERT
  “AZZMADOR” RAY, NATHAN DAMIGO,
  ELLIOT KLINE a/k/a/ ELI MOSELY,
  IDENTITY EVROPA, MATTHEW                          EXHIBIT A: AGREEMENT TO
  HEIMBACH, MATTHEW PARROTT a/k/a                    RESPECT CONFIDENTIAL
  DAVID MATTHEW PARROTT,                                 INFORMATION
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS,
  LEAGUE OF THE SOUTH, JEFF SCHOEP,
  NATIONAL SOCIALIST MOVEMENT,
  NATIONALIST FRONT, AUGUSTUS SOL
  INVICTUS, FRATERNAL ORDER OF THE
  ALT-KNIGHTS, MICHAEL “ENOCH”
  PEINOVICH, LOYAL WHITE KNIGHTS OF
  THE KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,

                               Defendants.

  I, _________________ , state that:

         1.     My address is _____________________________________________________.

         2.     My present employer is ______________________________________________.

         3.     My present occupation or job description is ______________________________.




Case 3:17-cv-00072-NKM-JCH Document 167 Filed 01/03/18 Page 10 of 11 Pageid#: 771
 Case 3:17-cv-00072-NKM-JCH Document 261-1 Filed 03/12/18 Page 30 of 30 Pageid#:
                                     1741



          4.     I have received a copy of the Stipulation and Order for the Production and

  Exchange of Confidential Information (the “Order”) entered in the above-entitled Action on

  ______________.

          5.     I have carefully read and understand the provisions of the Order.

          6.     I will comply with all of the provisions of the Order.

          7.     I will hold in confidence, will not disclose to any one not qualified under the

  Order, and will use only for purposes of this litigation, any CONFIDENTIAL INFORMATION

  or HIGHLY CONFIDENTIAL INFORMATION that is disclosed to me.

          8.     Within sixty (60) days after conclusion of this litigation, or as otherwise agreed, I

  will return all CONFIDENTIAL INFORMATION or HIGHLY CONFIDENTIAL

  INFORMATION that comes into my possession, and documents or things that I have prepared

  relating thereto, to counsel for the Party by whom I am employed or retained, or to counsel from

  whom I received the CONFIDENTIAL INFORMATION or HIGHLY CONFIDENTIAL

  INFORMATION.

          9.     I hereby submit to the jurisdiction of this Court for the purpose of enforcement of

  the Order in this Action.



  Signature:

  Date:




                                                   2

Case 3:17-cv-00072-NKM-JCH Document 167 Filed 01/03/18 Page 11 of 11 Pageid#: 772
